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                      EXHIBIT 1
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MISSISSIPPI LEGISLATURE                               REGULAR SESSION 2023

By:   Representatives Lamar, Shanks, Wallace          To:   Ways and Means




                                HOUSE BILL NO. 1020
                               (As Sent to Governor)


 1         AN ACT TO AUTHORIZE FOUR TEMPORARY SPECIAL CIRCUIT JUDGES FOR
 2    THE SEVENTH CIRCUIT COURT DISTRICT TO BE APPOINTED BY THE CHIEF
 3    JUSTICE OF THE SUPREME COURT; TO AUTHORIZE THE PUBLIC DEFENDER OF
 4    THE SEVENTH CIRCUIT COURT DISTRICT TO APPOINT THREE FULL-TIME
 5    ASSISTANT PUBLIC DEFENDERS; TO AUTHORIZE THE DISTRICT ATTORNEY OF
 6    THE SEVENTH CIRCUIT COURT DISTRICT TO APPOINT TWO FULL-TIME
 7    ASSISTANT DISTRICT ATTORNEYS; TO CREATE AN INFERIOR COURT WITHIN
 8    THE CAPITOL COMPLEX IMPROVEMENT DISTRICT TO HEAR AND DETERMINE
 9    CERTAIN MATTERS THAT ARE UNDER THE JURISDICTION OF MUNICIPAL
10    COURTS JURISDICTION OF A MUNICIPAL COURT; TO AUTHORIZE THE
11    ATTORNEY GENERAL TO DESIGNATE TWO ATTORNEYS TO SERVE AS
12    PROSECUTING ATTORNEYS FOR ANY CAUSE OF ACTION WITHIN THE
13    JURISDICTION OF THE CAPITOL COMPLEX IMPROVEMENT DISTRICT; TO
14    REQUIRE THE ADMINISTRATIVE OFFICE OF COURTS, IN CONSULTATION WITH
15    THE CHIEF JUSTICE OF THE MISSISSIPPI SUPREME COURT TO APPOINT A
16    CLERK FOR THE CCID INFERIOR COURT; TO REQUIRE THE DEPARTMENT OF
17    FINANCE AND ADMINISTRATION TO DESIGNATE A SUITABLE LOCATION OR
18    BUILDING FOR THE PURPOSE OF ALLOWING THE CCID INFERIOR COURT TO
19    HOLD COURT; TO AMEND SECTION 29-5-203, MISSISSIPPI CODE OF 1972, TO
20    REVISE THE BOUNDARIES OF THE CAPITOL COMPLEX IMPROVEMENT DISTRICT,
21    FOR PURPOSES OF AMENDMENT; TO AMEND SECTION 27-65-75, MISSISSIPPI
22    CODE OF 1972, AS AMENDED BY SENATE BILL NO. 2664, 2023 REGULAR
23    SESSION, TO REVISE THE DISTRIBUTION OF STATE SALES TAX REVENUE TO
24    THE CAPITOL COMPLEX IMPROVEMENT DISTRICT PROJECT FUND; TO REQUIRE
25    THE COMMISSIONER OF THE DEPARTMENT OF PUBLIC SAFETY TO DEVELOP A
26    911 SYSTEM FOR EMERGENCIES WITHIN THE CAPITOL COMPLEX IMPROVEMENT
27    DISTRICT; TO REQUIRE THE CHIEF JUSTICE OF THE SUPREME COURT, IN
28    CONSULTATION WITH THE ADMINISTRATIVE OFFICE OF COURTS, TO APPOINT
29    A COURT ADMINISTRATOR TO MANAGE THE CASELOAD OF THE SPECIAL JUDGES
30    APPOINTED IN SECTION 1 OF THIS ACT; TO REQUIRE THE HINDS COUNTY
31    CIRCUIT CLERK TO SELECT JURORS FROM ALL QUALIFIED ELECTORS IN
32    HINDS COUNTY; TO PROVIDE HOW JURORS ARE CHOSEN FOR PROCEEDINGS
33    BEFORE SPECIAL COURT JUDGES AUTHORIZED BY THIS ACT FOR THE SEVENTH
34    CIRCUIT COURT DISTRICT; AND FOR RELATED PURPOSES.
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35        BE IT ENACTED BY THE LEGISLATURE OF THE STATE OF MISSISSIPPI:

36        SECTION 1.    (1)    The Chief Justice of the Supreme Court shall

37   appoint four (4) temporary special circuit judges for the Seventh

38   Circuit Court District.      No limitation whatsoever shall be placed

39   upon the powers and duties of the judges other than those provided

40   by the Constitution and laws of this state.        The term of the

41   temporary special circuit judges shall expire on December 31,

42   2026.

43        (2)    The judges shall be appointed no later than fifteen (15)

44   days after the passage of this act according to applicable state

45   laws.   The Chief Justice of the Supreme Court may elect to

46   reappoint circuit judges that are serving on a temporary basis as

47   of the effective date of this act in the Seventh Circuit Court

48   District.

49        (3)    (a)   Each temporary special circuit judge shall receive

50   an office operating allowance to be used for the purposes

51   described and in amounts equal to those authorized in Section
52   9-1-36.

53               (b)   The Administrative Office of Courts shall establish

54   personnel policies to compensate the support staff for each

55   temporary special circuit judge.

56        (4)    This section shall stand repealed on December 31, 2026.

57        SECTION 2.    The public defender of the Seventh Circuit Court

58   District may appoint three (3) full-time assistant public
59   defenders who shall perform duties in the Seventh Circuit Court

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60   District and the Capitol Complex Improvement District (CCID)

61   Inferior Court.    Such appointments shall be made in addition to

62   those authorized as of the effective date of this act in Section

63   25-32-3.   The full-time assistant public defenders shall receive

64   compensation in an amount equal to the compensation paid to

65   full-time assistant public defenders in the Seventh Circuit Court

66   District subject to available funds specifically appropriated by

67   the Legislature.

68        SECTION 3.    (1)    The District Attorney of the Seventh Circuit

69   Court District may appoint two (2) full-time assistant district

70   attorneys in addition to those authorized as the effective date of

71   this act in Section 25-31-5.      The full-time assistant district

72   attorneys shall receive compensation in an amount equal to the

73   compensation paid to full-time assistant district attorneys in the

74   Seventh Circuit Court District subject to available funds

75   specifically appropriated therefor by the Legislature.

76        (2)   The District Attorney of the Seventh Circuit Court
77   District may appoint one (1) full-time criminal investigator in

78   addition to the criminal investigators authorized as of the

79   effective date of this act in Section 25-31-10.

80        SECTION 4.    (1)    (a)   From and after January 1, 2024, there

81   shall be created one (1) inferior court as authorized by Article

82   6, Section 172 of the Mississippi Constitution of 1890, to be

83   located within the boundaries established in Section 29-5-203 for
84   the Capitol Complex Improvement District, hereinafter referred to

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85    as "CCID".   The CCID inferior court shall have jurisdiction to

86    hear and determine all preliminary matters and criminal matters

87    authorized by law for municipal courts that accrue or occur, in

88    whole or in part, within the boundaries of the Capitol Complex

89    Improvement District; and shall have the same jurisdiction as

90    municipal courts to hear and determine all cases charging

91    violations of the motor vehicle and traffic laws of this state,

92    and violations of the City of Jackson's traffic ordinance or

93    ordinances related to the disturbance of the public peace that

94    accrue or occur, in whole or in part, within the boundaries of the

95    Capitol Complex Improvement District.

96               (b)    Any person convicted in the CCID inferior court may

97    be placed in the custody of the Mississippi Department of

98    Corrections, Central Mississippi facility.

99         (2)   The Chief Justice of the Mississippi Supreme Court shall

100   appoint the CCID inferior court judge authorized by this section.

101   The judge shall possess all qualifications required by law for
102   municipal court judges.     Such judge shall be a qualified elector

103   of this state, and shall have such other qualifications as

104   provided by law for municipal judges.

105        (3)   The Administrative Office of Courts shall provide

106   compensation for the CCID inferior court judge and the support

107   staff of the judge.    Such compensation shall not be in an amount

108   less than the compensation paid to municipal court judges and
109   their support staff in the City of Jackson.

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110        (4)   All fines, penalties, fees and costs imposed and

111   collected by the CCID inferior court shall be deposited with the

112   City of Jackson municipal treasurer or equivalent officer.

113        (5)   This section shall stand repealed on July 1, 2027.

114        SECTION 5.   (1)    The Attorney General shall designate two (2)

115   attorneys to serve as prosecuting attorneys for any cause of

116   action within the jurisdiction of the Capitol Complex Improvement

117   District (CCID) inferior court.      The prosecuting attorneys may be

118   employees of the Office of the Attorney General or contracted by

119   the Attorney General for such purposes.       The attorneys shall

120   prosecute cases in the court provided for the CCID inferior court

121   and also in the same manner and with the same authority of law

122   provided for district attorneys and county prosecuting attorneys

123   by filing an indictment or any other criminal action that accrues

124   or occurs, in whole or in part, in the CCID.

125        (2)   The Hinds County District Attorney shall be authorized

126   to prosecute cases in the CCID inferior court.         The provisions of
127   this section shall not be construed to prohibit or in any way

128   limit the Hinds County District Attorney from filing an indictment

129   or any other criminal action that occurred or accrued, in whole or

130   in part, within the boundaries of the CCID.

131        (3)   This section shall stand repealed on July 1, 2027.

132        SECTION 6.   (1)    The Administrative Office of Courts, in

133   consultation with the Chief Justice of the Mississippi Supreme



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134   Court, shall appoint a clerk for the Capitol Complex Improvement

135   District (CCID) inferior court.

136        (2)    The Administrative Office of Courts shall provide

137   support staff and any other staff necessary to carry out the

138   functions and duties for the clerk of the CCID inferior court.

139        (3)    The Administrative Office of Courts shall pay the

140   salaries of the clerk and support staff of the CCID, subject to

141   available funds specifically appropriated by the Legislature for

142   such purpose.     Such salaries shall not be in amounts less than the

143   salaries paid to the clerk and staff of the municipal courts in

144   the City of Jackson.

145        (4)    This section shall stand repealed on July 1, 2027.

146        SECTION 7.    The Department of Finance and Administration in

147   conjunction with the Administrative Office of Courts shall

148   designate a suitable location or building for the purpose of

149   allowing the Capitol Complex Improvement District (CCID) inferior

150   court to hold court.
151        SECTION 8.    Section 29-5-203, Mississippi Code of 1972, is

152   amended as follows:

153        [Through June 30, 2024, this section shall read as follows:]

154        29-5-203.    There is created the Capitol Complex Improvement

155   District to be composed of the following described area in the

156   City of Jackson, Mississippi, that surrounds the State Capitol

157   Building:
158                     CAPITOL COMPLEX PROPOSED BOUNDARIES

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159        •   Beginning at a point on the west bank of the Pearl River

160   determined by extending the south curb line of High Street east

161   until it meets the bank of the Pearl River;

162        •   Then north along the west bank of the Pearl River

163   (extending along the southern boundary of LeFleur's Bluff State

164   Park) until it reaches a point on such bank determined by

165   extending the east curb line of Ridgewood Road south until it

166   meets the bank of the Pearl River;

167        •   Then north along such line determined by extending the

168   east curb line of Ridgewood Road and continuing along such curb

169   line until it reaches the northern drainage ditch of Eastover

170   Drive;

171        •   Then west along the northern drainage ditch and curb line

172   of Eastover Drive until it reaches the western curb line of the

173   west frontage road of I-55;

174        •   Then south along the west curb line of such frontage road

175   until it reaches the northern curb line of Lakeland Drive;
176        •   Then west along the northern curb line of Lakeland Drive

177   until it reaches the eastern curb line of Old Canton Road;

178        •   Then north along the east curb line of Old Canton Road

179   until it reaches the northern curb line of Meadowbrook Road;

180        •   Then west along the north curb line of Meadowbrook Road to

181   the west curb line of North State Street;

182        •   Then south along the west curb line of North State Street
183   to the north curb line of Hartfield Street;

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184        •   Then west along the north curb line of Hartfield Street to

185   the west curb line of Oxford Avenue;

186        •   Then south on the west curb line of Oxford Avenue to the

187   north curb line of Mitchell Avenue which becomes Stonewall Street;

188        •   Then west along the north curb line of Mitchell Street and

189   then Stonewall Street until it reaches the west curb line of

190   Livingston Road;

191        •   Then south along the west curb line of Livingston Road

192   until it reaches the south curb line of Woodrow Wilson Drive;

193        •   Then east along the south curb line of Woodrow Wilson

194   Drive to the west curb line of Bailey Avenue (which becomes

195   Gallatin Street);

196        •   Then south along the west curb line of Bailey Avenue and

197   then Gallatin Street until it reaches the north curb line of West

198   Capitol Street;

199        •   Then west along the north curb line of West Capitol Street

200   until it intersects with the north curb line of Robinson Road;
201        •   Then west on the north curb line of Robinson Road until it

202   intersects with the west curb line of Prentiss Street;

203        •   Then south along the west curb line of Prentiss Street

204   until it intersects with the north curb line of John R. Lynch

205   Street on the west side of Jackson State University;

206        •   Then west on the north curb line of John R. Lynch Street

207   until it reaches the west curb line of Valley Street;



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208        •     Then south along the west curb line of Valley Street until

209   it reaches the south curb line of Morehouse Street;

210        •     Then east along the south curb line of Morehouse Street

211   until it reaches the west curb line of Dalton Street;

212        •     Then south along the west curb line of Dalton Street until

213   it reaches the south curb line of Florence Avenue;

214        •     Then east along the south curb line of Florence Avenue

215   until it reaches the east curb line of University Blvd. (Terry

216   Road);

217        •     Then north and along the east curb line of University

218   Blvd. until it reaches the south curb line of Hooker Street;

219        •     Then east along the south curb line of Hooker Street

220   extending in a straight line to the railroad tracks;

221        •     Then north on the west side of such railroad tracks to the

222   south curb line of South Street;

223        •     Then east on South Street to the east curb line of

224   Jefferson Street and extend the south curb line of South Street in
225   a straight line to the east to the western edge of I-55;

226        •     Then north along the western edge of I-55 until it reaches

227   the south curb line of High Street;

228        •     Then east along the south curb line of High Street and

229   extending such line to the Pearl River and the point of the

230   beginning.

231        [From and after July 1, 2024, this section shall read as
232   follows:

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233        29-5-203.     There is created the Capitol Complex Improvement

234   District to be composed of the following described area in the

235   City of Jackson, Mississippi, that surrounds the State Capitol

236   Building:

237                     CAPITOL COMPLEX PROPOSED BOUNDARIES

238        •   Beginning at a point on the west bank of the Pearl River

239   determined by extending the south curb line of High Street east

240   until it meets the bank of the Pearl River;

241        •   Then north along the west bank of the Pearl River * * *

242   until it reaches a point on such bank determined by extending

243   the * * * north curb line of Northside Drive until it meets the

244   bank of the Pearl River;

245        •   Then west along the north curb line of Northside Drive

246   until it reaches the west track of the Illinois Central Railroad

247   line;

248    * * *

249        •   Then south * * * along the west track of the Illinois
250   Central Railroad line to the north curb line of Mitchell Avenue

251   which becomes Stonewall Street;

252        •   Then west along the north curb line of Mitchell Street and

253   then Stonewall Street until it reaches the west curb line of

254   Livingston Road;

255        •   Then south along the west curb line of Livingston Road

256   until it reaches the south curb line of Woodrow Wilson Drive;



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257        •   Then east along the south curb line of Woodrow Wilson

258   Drive to the west curb line of Bailey Avenue (which becomes

259   Gallatin Street);

260        •   Then south along the west curb line of Bailey Avenue and

261   then Gallatin Street until it reaches the north curb line of * * *

262   West Monument Street;

263        •   Then west along the north curb line of * * * West Monument

264   Street until it intersects with * * * West Capitol Street and

265   becomes Rose Street;

266        •   Then south along the west curb line of Rose Street until

267   it intersects with the north curb line of Robinson Road;

268        •   Then west on the north curb line of Robinson Road until it

269   intersects with the west curb line of Prentiss Street;

270        •   Then south along the west curb line of Prentiss Street

271   until it intersects with the north curb line of John R. Lynch

272   Street on the west side of Jackson State University;

273        •   Then west on the north curb line of John R. Lynch Street
274   until it reaches the west curb line of * * * Ellis Avenue;

275    * * *

276        •   Then south along the west curb line of Ellis Avenue until

277   it reaches the south curb line of Raymond Road;

278        •   Then east along the south curb line of Raymond Road until

279   it reaches the north edge of Interstate 20 westbound;

280        •   * * * Then east along the north edge of Interstate 20
281   until it overlaps with Interstate 55 and continues along such edge

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282   of Interstate 55/20 to the western edge of where it becomes

283   Interstate 55;

284    * * *

285        •   Then north along the western edge of I-55 until it reaches

286   the south curb line of High Street;

287        •   Then east along the south curb line of High Street and

288   extending such line to the Pearl River and the point of the

289   beginning.

290        SECTION 9.    Section 27-65-75, Mississippi Code of 1972, as

291   amended by Senate Bill No. 2664, 2023 Regular Session, is amended

292   as follows:

293        27-65-75.    On or before the fifteenth day of each month, the

294   revenue collected under the provisions of this chapter during the

295   preceding month shall be paid and distributed as follows:

296        (1)   (a)    On or before August 15, 1992, and each succeeding

297   month thereafter through July 15, 1993, eighteen percent (18%) of

298   the total sales tax revenue collected during the preceding month
299   under the provisions of this chapter, except that collected under

300   the provisions of Sections 27-65-15, 27-65-19(3) and 27-65-21, on

301   business activities within a municipal corporation shall be

302   allocated for distribution to the municipality and paid to the

303   municipal corporation.     Except as otherwise provided in this

304   paragraph (a), on or before August 15, 1993, and each succeeding

305   month thereafter, eighteen and one-half percent (18-1/2%) of the
306   total sales tax revenue collected during the preceding month under

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307   the provisions of this chapter, except that collected under the

308   provisions of Sections 27-65-15, 27-65-19(3), 27-65-21 and

309   27-65-24, on business activities within a municipal corporation

310   shall be allocated for distribution to the municipality and paid

311   to the municipal corporation.      However, in the event the State

312   Auditor issues a certificate of noncompliance pursuant to Section

313   21-35-31, the Department of Revenue shall withhold ten percent

314   (10%) of the allocations and payments to the municipality that

315   would otherwise be payable to the municipality under this

316   paragraph (a) until such time that the department receives written

317   notice of the cancellation of a certificate of noncompliance from

318   the State Auditor.

319        A municipal corporation, for the purpose of distributing the

320   tax under this subsection, shall mean and include all incorporated

321   cities, towns and villages.

322        Monies allocated for distribution and credited to a municipal

323   corporation under this paragraph may be pledged as security for a
324   loan if the distribution received by the municipal corporation is

325   otherwise authorized or required by law to be pledged as security

326   for such a loan.

327        In any county having a county seat that is not an

328   incorporated municipality, the distribution provided under this

329   subsection shall be made as though the county seat was an

330   incorporated municipality; however, the distribution to the
331   municipality shall be paid to the county treasury in which the

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332   municipality is located, and those funds shall be used for road,

333   bridge and street construction or maintenance in the county.

334              (b)    On or before August 15, 2006, and each succeeding

335   month thereafter, eighteen and one-half percent (18-1/2%) of the

336   total sales tax revenue collected during the preceding month under

337   the provisions of this chapter, except that collected under the

338   provisions of Sections 27-65-15, 27-65-19(3) and 27-65-21, on

339   business activities on the campus of a state institution of higher

340   learning or community or junior college whose campus is not

341   located within the corporate limits of a municipality, shall be

342   allocated for distribution to the state institution of higher

343   learning or community or junior college and paid to the state

344   institution of higher learning or community or junior college.

345              (c)    On or before August 15, 2018, and each succeeding

346   month thereafter until August 14, 2019, two percent (2%) of the

347   total sales tax revenue collected during the preceding month under

348   the provisions of this chapter, except that collected under the
349   provisions of Sections 27-65-15, 27-65-19(3), 27-65-21 and

350   27-65-24, on business activities within the corporate limits of

351   the City of Jackson, Mississippi, shall be deposited into the

352   Capitol Complex Improvement District Project Fund created in

353   Section 29-5-215.    On or before August 15, 2019, and each

354   succeeding month thereafter until August 14, 2020, four percent

355   (4%) of the total sales tax revenue collected during the preceding
356   month under the provisions of this chapter, except that collected

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357   under the provisions of Sections 27-65-15, 27-65-19(3), 27-65-21

358   and 27-65-24, on business activities within the corporate limits

359   of the City of Jackson, Mississippi, shall be deposited into the

360   Capitol Complex Improvement District Project Fund created in

361   Section 29-5-215.       On or before August 15, 2020, and each

362   succeeding month thereafter through July 15, 2023, six percent

363   (6%) of the total sales tax revenue collected during the preceding

364   month under the provisions of this chapter, except that collected

365   under the provisions of Sections 27-65-15, 27-65-19(3), 27-65-21

366   and 27-65-24, on business activities within the corporate limits

367   of the City of Jackson, Mississippi, shall be deposited into the

368   Capitol Complex Improvement District Project Fund created in

369   Section 29-5-215.       On or before August 15, 2023, and each

370   succeeding month thereafter, nine percent (9%) of the total sales

371   tax revenue collected during the preceding month under the

372   provisions of this chapter, except that collected under the

373   provisions of Sections 27-65-15, 27-65-19(3), 27-65-21 and
374   27-65-24, on business activities within the corporate limits of

375   the City of Jackson, Mississippi, shall be deposited into the

376   Capitol Complex Improvement District Project Fund created in

377   Section 29-5-215.

378              (d)    (i)   On or before the fifteenth day of the month

379   that the diversion authorized by this section begins, and each

380   succeeding month thereafter, eighteen and one-half percent
381   (18-1/2%) of the total sales tax revenue collected during the

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382   preceding month under the provisions of this chapter, except that

383   collected under the provisions of Sections 27-65-15, 27-65-19(3)

384   and 27-65-21, on business activities within a redevelopment

385   project area developed under a redevelopment plan adopted under

386   the Tax Increment Financing Act (Section 21-45-1 et seq.) shall be

387   allocated for distribution to the county in which the project area

388   is located if:

389                            1.   The county:

390                                 a.   Borders on the Mississippi Sound and

391   the State of Alabama, or

392                                 b.   Is Harrison County, Mississippi, and

393   the project area is within a radius of two (2) miles from the

394   intersection of Interstate 10 and Menge Avenue;

395                            2.   The county has issued bonds under Section

396   21-45-9 to finance all or a portion of a redevelopment project in

397   the redevelopment project area;

398                            3.   Any debt service for the indebtedness
399   incurred is outstanding; and

400                            4.   A development with a value of Ten Million

401   Dollars ($10,000,000.00) or more is, or will be, located in the

402   redevelopment area.

403                     (ii)    Before any sales tax revenue may be allocated

404   for distribution to a county under this paragraph, the county

405   shall certify to the Department of Revenue that the requirements
406   of this paragraph have been met, the amount of bonded indebtedness

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407   that has been incurred by the county for the redevelopment project

408   and the expected date the indebtedness incurred by the county will

409   be satisfied.

410                     (iii)    The diversion of sales tax revenue

411   authorized by this paragraph shall begin the month following the

412   month in which the Department of Revenue determines that the

413   requirements of this paragraph have been met.         The diversion shall

414   end the month the indebtedness incurred by the county is

415   satisfied.   All revenue received by the county under this

416   paragraph shall be deposited in the fund required to be created in

417   the tax increment financing plan under Section 21-45-11 and be

418   utilized solely to satisfy the indebtedness incurred by the

419   county.

420        (2)   On or before September 15, 1987, and each succeeding

421   month thereafter, from the revenue collected under this chapter

422   during the preceding month, One Million One Hundred Twenty-five

423   Thousand Dollars ($1,125,000.00) shall be allocated for
424   distribution to municipal corporations as defined under subsection

425   (1) of this section in the proportion that the number of gallons

426   of gasoline and diesel fuel sold by distributors to consumers and

427   retailers in each such municipality during the preceding fiscal

428   year bears to the total gallons of gasoline and diesel fuel sold

429   by distributors to consumers and retailers in municipalities

430   statewide during the preceding fiscal year.         The Department of
431   Revenue shall require all distributors of gasoline and diesel fuel

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432   to report to the department monthly the total number of gallons of

433   gasoline and diesel fuel sold by them to consumers and retailers

434   in each municipality during the preceding month.         The Department

435   of Revenue shall have the authority to promulgate such rules and

436   regulations as is necessary to determine the number of gallons of

437   gasoline and diesel fuel sold by distributors to consumers and

438   retailers in each municipality.       In determining the percentage

439   allocation of funds under this subsection for the fiscal year

440   beginning July 1, 1987, and ending June 30, 1988, the Department

441   of Revenue may consider gallons of gasoline and diesel fuel sold

442   for a period of less than one (1) fiscal year.         For the purposes

443   of this subsection, the term "fiscal year" means the fiscal year

444   beginning July 1 of a year.

445        (3)   On or before September 15, 1987, and on or before the

446   fifteenth day of each succeeding month, until the date specified

447   in Section 65-39-35, the proceeds derived from contractors' taxes

448   levied under Section 27-65-21 on contracts for the construction or
449   reconstruction of highways designated under the highway program

450   created under Section 65-3-97 shall, except as otherwise provided

451   in Section 31-17-127, be deposited into the State Treasury to the

452   credit of the State Highway Fund to be used to fund that highway

453   program.   The Mississippi Department of Transportation shall

454   provide to the Department of Revenue such information as is

455   necessary to determine the amount of proceeds to be distributed
456   under this subsection.

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457        (4)   On or before August 15, 1994, and on or before the

458   fifteenth day of each succeeding month through July 15, 1999, from

459   the proceeds of gasoline, diesel fuel or kerosene taxes as

460   provided in Section 27-5-101(a)(ii)1, Four Million Dollars

461   ($4,000,000.00) shall be deposited in the State Treasury to the

462   credit of a special fund designated as the "State Aid Road Fund,"

463   created by Section 65-9-17.      On or before August 15, 1999, and on

464   or before the fifteenth day of each succeeding month, from the

465   total amount of the proceeds of gasoline, diesel fuel or kerosene

466   taxes apportioned by Section 27-5-101(a)(ii)1, Four Million

467   Dollars ($4,000,000.00) or an amount equal to twenty-three and

468   one-fourth percent (23-1/4%) of those funds, whichever is the

469   greater amount, shall be deposited in the State Treasury to the

470   credit of the "State Aid Road Fund," created by Section 65-9-17.

471   Those funds shall be pledged to pay the principal of and interest

472   on state aid road bonds heretofore issued under Sections 19-9-51

473   through 19-9-77, in lieu of and in substitution for the funds
474   previously allocated to counties under this section.          Those funds

475   may not be pledged for the payment of any state aid road bonds

476   issued after April 1, 1981; however, this prohibition against the

477   pledging of any such funds for the payment of bonds shall not

478   apply to any bonds for which intent to issue those bonds has been

479   published for the first time, as provided by law before March 29,

480   1981.   From the amount of taxes paid into the special fund under
481   this subsection and subsection (9) of this section, there shall be

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482   first deducted and paid the amount necessary to pay the expenses

483   of the Office of State Aid Road Construction, as authorized by the

484   Legislature for all other general and special fund agencies.           The

485   remainder of the fund shall be allocated monthly to the several

486   counties in accordance with the following formula:

487               (a)   One-third (1/3) shall be allocated to all counties

488   in equal shares;

489               (b)   One-third (1/3) shall be allocated to counties

490   based on the proportion that the total number of rural road miles

491   in a county bears to the total number of rural road miles in all

492   counties of the state; and

493               (c)   One-third (1/3) shall be allocated to counties

494   based on the proportion that the rural population of the county

495   bears to the total rural population in all counties of the state,

496   according to the latest federal decennial census.

497        For the purposes of this subsection, the term "gasoline,

498   diesel fuel or kerosene taxes" means such taxes as defined in
499   paragraph (f) of Section 27-5-101.

500        The amount of funds allocated to any county under this

501   subsection for any fiscal year after fiscal year 1994 shall not be

502   less than the amount allocated to the county for fiscal year 1994.

503        Any reference in the general laws of this state or the

504   Mississippi Code of 1972 to Section 27-5-105 shall mean and be

505   construed to refer and apply to subsection (4) of Section
506   27-65-75.

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507        (5)    One Million Six Hundred Sixty-six Thousand Six Hundred

508   Sixty-six Dollars ($1,666,666.00) each month shall be paid into

509   the special fund known as the "Educational Facilities Revolving

510   Loan Fund" created and existing under the provisions of Section

511   37-47-24.   Those payments into that fund are to be made on the

512   last day of each succeeding month hereafter.         This subsection (5)

513   shall stand repealed on July 1, * * * 2026.

514        (6)    An amount each month beginning August 15, 1983, through

515   November 15, 1986, as specified in Section 6, Chapter 542, Laws of

516   1983, shall be paid into the special fund known as the

517   Correctional Facilities Construction Fund created in Section 6,

518   Chapter 542, Laws of 1983.

519        (7)    On or before August 15, 1992, and each succeeding month

520   thereafter through July 15, 2000, two and two hundred sixty-six

521   one-thousandths percent (2.266%) of the total sales tax revenue

522   collected during the preceding month under the provisions of this

523   chapter, except that collected under the provisions of Section
524   27-65-17(2), shall be deposited by the department into the School

525   Ad Valorem Tax Reduction Fund created under Section 37-61-35.              On

526   or before August 15, 2000, and each succeeding month thereafter,

527   two and two hundred sixty-six one-thousandths percent (2.266%) of

528   the total sales tax revenue collected during the preceding month

529   under the provisions of this chapter, except that collected under

530   the provisions of Section 27-65-17(2), shall be deposited into the
531   School Ad Valorem Tax Reduction Fund created under Section

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532   37-61-35 until such time that the total amount deposited into the

533   fund during a fiscal year equals Forty-two Million Dollars

534   ($42,000,000.00).    Thereafter, the amounts diverted under this

535   subsection (7) during the fiscal year in excess of Forty-two

536   Million Dollars ($42,000,000.00) shall be deposited into the

537   Education Enhancement Fund created under Section 37-61-33 for

538   appropriation by the Legislature as other education needs and

539   shall not be subject to the percentage appropriation requirements

540   set forth in Section 37-61-33.

541        (8)    On or before August 15, 1992, and each succeeding month

542   thereafter, nine and seventy-three one-thousandths percent

543   (9.073%) of the total sales tax revenue collected during the

544   preceding month under the provisions of this chapter, except that

545   collected under the provisions of Section 27-65-17(2), shall be

546   deposited into the Education Enhancement Fund created under

547   Section 37-61-33.

548        (9)    On or before August 15, 1994, and each succeeding month
549   thereafter, from the revenue collected under this chapter during

550   the preceding month, Two Hundred Fifty Thousand Dollars

551   ($250,000.00) shall be paid into the State Aid Road Fund.

552        (10)   On or before August 15, 1994, and each succeeding month

553   thereafter through August 15, 1995, from the revenue collected

554   under this chapter during the preceding month, Two Million Dollars

555   ($2,000,000.00) shall be deposited into the Motor Vehicle Ad
556   Valorem Tax Reduction Fund established in Section 27-51-105.

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557        (11)   Notwithstanding any other provision of this section to

558   the contrary, on or before February 15, 1995, and each succeeding

559   month thereafter, the sales tax revenue collected during the

560   preceding month under the provisions of Section 27-65-17(2) and

561   the corresponding levy in Section 27-65-23 on the rental or lease

562   of private carriers of passengers and light carriers of property

563   as defined in Section 27-51-101 shall be deposited, without

564   diversion, into the Motor Vehicle Ad Valorem Tax Reduction Fund

565   established in Section 27-51-105.

566        (12)   Notwithstanding any other provision of this section to

567   the contrary, on or before August 15, 1995, and each succeeding

568   month thereafter, the sales tax revenue collected during the

569   preceding month under the provisions of Section 27-65-17(1) on

570   retail sales of private carriers of passengers and light carriers

571   of property, as defined in Section 27-51-101 and the corresponding

572   levy in Section 27-65-23 on the rental or lease of these vehicles,

573   shall be deposited, after diversion, into the Motor Vehicle Ad
574   Valorem Tax Reduction Fund established in Section 27-51-105.

575        (13)   On or before July 15, 1994, and on or before the

576   fifteenth day of each succeeding month thereafter, that portion of

577   the avails of the tax imposed in Section 27-65-22 that is derived

578   from activities held on the Mississippi State Fairgrounds Complex

579   shall be paid into a special fund that is created in the State

580   Treasury and shall be expended upon legislative appropriation



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581   solely to defray the costs of repairs and renovation at the Trade

582   Mart and Coliseum.

583        (14)   On or before August 15, 1998, and each succeeding month

584   thereafter through July 15, 2005, that portion of the avails of

585   the tax imposed in Section 27-65-23 that is derived from sales by

586   cotton compresses or cotton warehouses and that would otherwise be

587   paid into the General Fund shall be deposited in an amount not to

588   exceed Two Million Dollars ($2,000,000.00) into the special fund

589   created under Section 69-37-39.       On or before August 15, 2007, and

590   each succeeding month thereafter through July 15, 2010, that

591   portion of the avails of the tax imposed in Section 27-65-23 that

592   is derived from sales by cotton compresses or cotton warehouses

593   and that would otherwise be paid into the General Fund shall be

594   deposited in an amount not to exceed Two Million Dollars

595   ($2,000,000.00) into the special fund created under Section

596   69-37-39 until all debts or other obligations incurred by the

597   Certified Cotton Growers Organization under the Mississippi Boll
598   Weevil Management Act before January 1, 2007, are satisfied in

599   full.   On or before August 15, 2010, and each succeeding month

600   thereafter through July 15, 2011, fifty percent (50%) of that

601   portion of the avails of the tax imposed in Section 27-65-23 that

602   is derived from sales by cotton compresses or cotton warehouses

603   and that would otherwise be paid into the General Fund shall be

604   deposited into the special fund created under Section 69-37-39
605   until such time that the total amount deposited into the fund

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606   during a fiscal year equals One Million Dollars ($1,000,000.00).

607   On or before August 15, 2011, and each succeeding month

608   thereafter, that portion of the avails of the tax imposed in

609   Section 27-65-23 that is derived from sales by cotton compresses

610   or cotton warehouses and that would otherwise be paid into the

611   General Fund shall be deposited into the special fund created

612   under Section 69-37-39 until such time that the total amount

613   deposited into the fund during a fiscal year equals One Million

614   Dollars ($1,000,000.00).

615        (15)   Notwithstanding any other provision of this section to

616   the contrary, on or before September 15, 2000, and each succeeding

617   month thereafter, the sales tax revenue collected during the

618   preceding month under the provisions of Section

619   27-65-19(1)(d)(i)2, and 27-65-19(1)(d)(i)3 shall be deposited,

620   without diversion, into the Telecommunications Ad Valorem Tax

621   Reduction Fund established in Section 27-38-7.

622        (16)   (a)   On or before August 15, 2000, and each succeeding
623   month thereafter, the sales tax revenue collected during the

624   preceding month under the provisions of this chapter on the gross

625   proceeds of sales of a project as defined in Section 57-30-1 shall

626   be deposited, after all diversions except the diversion provided

627   for in subsection (1) of this section, into the Sales Tax

628   Incentive Fund created in Section 57-30-3.

629               (b)   On or before August 15, 2007, and each succeeding
630   month thereafter, eighty percent (80%) of the sales tax revenue

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631   collected during the preceding month under the provisions of this

632   chapter from the operation of a tourism project under the

633   provisions of Sections 57-26-1 through 57-26-5, shall be

634   deposited, after the diversions required in subsections (7) and

635   (8) of this section, into the Tourism Project Sales Tax Incentive

636   Fund created in Section 57-26-3.

637        (17)   Notwithstanding any other provision of this section to

638   the contrary, on or before April 15, 2002, and each succeeding

639   month thereafter, the sales tax revenue collected during the

640   preceding month under Section 27-65-23 on sales of parking

641   services of parking garages and lots at airports shall be

642   deposited, without diversion, into the special fund created under

643   Section 27-5-101(d).

644        (18)   [Repealed]

645        (19)   (a)   On or before August 15, 2005, and each succeeding

646   month thereafter, the sales tax revenue collected during the

647   preceding month under the provisions of this chapter on the gross
648   proceeds of sales of a business enterprise located within a

649   redevelopment project area under the provisions of Sections

650   57-91-1 through 57-91-11, and the revenue collected on the gross

651   proceeds of sales from sales made to a business enterprise located

652   in a redevelopment project area under the provisions of Sections

653   57-91-1 through 57-91-11 (provided that such sales made to a

654   business enterprise are made on the premises of the business
655   enterprise), shall, except as otherwise provided in this

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656   subsection (19), be deposited, after all diversions, into the

657   Redevelopment Project Incentive Fund as created in Section

658   57-91-9.

659              (b)    For a municipality participating in the Economic

660   Redevelopment Act created in Sections 57-91-1 through 57-91-11,

661   the diversion provided for in subsection (1) of this section

662   attributable to the gross proceeds of sales of a business

663   enterprise located within a redevelopment project area under the

664   provisions of Sections 57-91-1 through 57-91-11, and attributable

665   to the gross proceeds of sales from sales made to a business

666   enterprise located in a redevelopment project area under the

667   provisions of Sections 57-91-1 through 57-91-11 (provided that

668   such sales made to a business enterprise are made on the premises

669   of the business enterprise), shall be deposited into the

670   Redevelopment Project Incentive Fund as created in Section

671   57-91-9, as follows:

672                     (i)    For the first six (6) years in which payments
673   are made to a developer from the Redevelopment Project Incentive

674   Fund, one hundred percent (100%) of the diversion shall be

675   deposited into the fund;

676                     (ii)   For the seventh year in which such payments

677   are made to a developer from the Redevelopment Project Incentive

678   Fund, eighty percent (80%) of the diversion shall be deposited

679   into the fund;



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680                     (iii)    For the eighth year in which such payments

681   are made to a developer from the Redevelopment Project Incentive

682   Fund, seventy percent (70%) of the diversion shall be deposited

683   into the fund;

684                     (iv)    For the ninth year in which such payments are

685   made to a developer from the Redevelopment Project Incentive Fund,

686   sixty percent (60%) of the diversion shall be deposited into the

687   fund; and

688                     (v)    For the tenth year in which such payments are

689   made to a developer from the Redevelopment Project Incentive Fund,

690   fifty percent (50%) of the funds shall be deposited into the fund.

691        (20)   On or before January 15, 2007, and each succeeding

692   month thereafter, eighty percent (80%) of the sales tax revenue

693   collected during the preceding month under the provisions of this

694   chapter from the operation of a tourism project under the

695   provisions of Sections 57-28-1 through 57-28-5 shall be deposited,

696   after the diversions required in subsections (7) and (8) of this
697   section, into the Tourism Sales Tax Incentive Fund created in

698   Section 57-28-3.

699        (21)   (a)    On or before April 15, 2007, and each succeeding

700   month thereafter through June 15, 2013, One Hundred Fifty Thousand

701   Dollars ($150,000.00) of the sales tax revenue collected during

702   the preceding month under the provisions of this chapter shall be

703   deposited into the MMEIA Tax Incentive Fund created in Section
704   57-101-3.

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705               (b)   On or before July 15, 2013, and each succeeding

706   month thereafter, One Hundred Fifty Thousand Dollars ($150,000.00)

707   of the sales tax revenue collected during the preceding month

708   under the provisions of this chapter shall be deposited into the

709   Mississippi Development Authority Job Training Grant Fund created

710   in Section 57-1-451.

711        (22)   Notwithstanding any other provision of this section to

712   the contrary, on or before August 15, 2009, and each succeeding

713   month thereafter, the sales tax revenue collected during the

714   preceding month under the provisions of Section 27-65-201 shall be

715   deposited, without diversion, into the Motor Vehicle Ad Valorem

716   Tax Reduction Fund established in Section 27-51-105.

717        (23)   (a)   On or before August 15, 2019, and each month

718   thereafter through July 15, 2020, one percent (1%) of the total

719   sales tax revenue collected during the preceding month from

720   restaurants and hotels shall be allocated for distribution to the

721   Mississippi Development Authority Tourism Advertising Fund
722   established under Section 57-1-64, to be used exclusively for the

723   purpose stated therein.     On or before August 15, 2020, and each

724   month thereafter through July 15, 2021, two percent (2%) of the

725   total sales tax revenue collected during the preceding month from

726   restaurants and hotels shall be allocated for distribution to the

727   Mississippi Development Authority Tourism Advertising Fund

728   established under Section 57-1-64, to be used exclusively for the
729   purpose stated therein.     On or before August 15, 2021, and each

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730   month thereafter, three percent (3%) of the total sales tax

731   revenue collected during the preceding month from restaurants and

732   hotels shall be allocated for distribution to the Mississippi

733   Development Authority Tourism Advertising Fund established under

734   Section 57-1-64, to be used exclusively for the purpose stated

735   therein.    The revenue diverted pursuant to this subsection shall

736   not be available for expenditure until February 1, 2020.

737               (b)   The Joint Legislative Committee on Performance

738   Evaluation and Expenditure Review (PEER) must provide an annual

739   report to the Legislature indicating the amount of funds deposited

740   into the Mississippi Development Authority Tourism Advertising

741   Fund established under Section 57-1-64, and a detailed record of

742   how the funds are spent.

743        (24)   The remainder of the amounts collected under the

744   provisions of this chapter shall be paid into the State Treasury

745   to the credit of the General Fund.

746        (25)   (a)   It shall be the duty of the municipal officials of
747   any municipality that expands its limits, or of any community that

748   incorporates as a municipality, to notify the commissioner of that

749   action thirty (30) days before the effective date.          Failure to so

750   notify the commissioner shall cause the municipality to forfeit

751   the revenue that it would have been entitled to receive during

752   this period of time when the commissioner had no knowledge of the

753   action.



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754              (b)    (i)    Except as otherwise provided in subparagraph

755   (ii) of this paragraph, if any funds have been erroneously

756   disbursed to any municipality or any overpayment of tax is

757   recovered by the taxpayer, the commissioner may make correction

758   and adjust the error or overpayment with the municipality by

759   withholding the necessary funds from any later payment to be made

760   to the municipality.

761                     (ii)   Subject to the provisions of Sections

762   27-65-51 and 27-65-53, if any funds have been erroneously

763   disbursed to a municipality under subsection (1) of this section

764   for a period of three (3) years or more, the maximum amount that

765   may be recovered or withheld from the municipality is the total

766   amount of funds erroneously disbursed for a period of three (3)

767   years beginning with the date of the first erroneous disbursement.

768   However, if during such period, a municipality provides written

769   notice to the Department of Revenue indicating the erroneous

770   disbursement of funds, then the maximum amount that may be
771   recovered or withheld from the municipality is the total amount of

772   funds erroneously disbursed for a period of one (1) year beginning

773   with the date of the first erroneous disbursement.

774        SECTION 10.     The City of Jackson, at all times, shall

775   adequately staff its police department with the necessary number

776   of law enforcement officers.      The Jackson Police Department shall

777   continue to enforce all ordinances of the City of Jackson.



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778        SECTION 11.    (1)   Subject to the availability of funds

779   specifically appropriated therefor, the Department of Public

780   Safety shall provide body-worn cameras to each patrol law

781   enforcement officer within the Office of Capitol Police.           The

782   body-worn cameras shall be kept in good working condition, worn on

783   the uniform of any patrol law enforcement officer while the

784   officer is on duty and shall be fully operational while any

785   officer is on patrol.

786        (2)   For purposes of this section, "Body-worn camera" means a

787   device that is worn by a law enforcement officer which has the

788   capability of electronically recording audio and video of the

789   activities of the officer.

790        SECTION 12.    By October 1, 2023, the clerk of the Seventh

791   Circuit Court District in conjunction with the Administrative

792   Office of Courts shall provide case disposition and caseload data

793   in the district from January 1, 2017, to September 15, 2023, to

794   the Chairs of the Senate Judiciary, Division A and the House
795   Judiciary A Committees and the Chairs of the Senate and House

796   Appropriations Committees for the purpose of assisting the

797   Legislature in its consideration to authorize one (1) circuit

798   judge for the Seventh Circuit Court District in addition to the

799   judges authorized in subsection (1) of this section.          Any judge to

800   be authorized under this subsection shall be elected from the

801   subdistrict as provided by Section 9-7-23(2)(e).



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802        SECTION 13.    The Commissioner of the Department of Public

803   Safety shall develop a 911 system which can be used by any person

804   within the boundaries of the Capitol Complex Improvement District.

805        SECTION 14.    The Department of Public Safety may purchase and

806   issue all patrol law enforcement officers within the department

807   any equipment deemed necessary by the commissioner for use to

808   enforce any traffic related law of the State of Mississippi, City

809   of Jackson's traffic ordinances or ordinances related to the

810   disturbance of the public peace, or agency regulation on any

811   property, public street, road or highway upon which it has

812   jurisdiction.

813        SECTION 15.    The Chief Justice of the Supreme Court, in

814   consultation with the Administrative Office of Courts shall

815   appoint a court administrator whose primary duty is to manage the

816   caseload of the special judges appointed in Section 1 of this act.

817   The Chief Justice of the Supreme Court, in consultation with the

818   Administrative Office of Courts, shall set the compensation for
819   the court administrator authorized in this section.

820        SECTION 16.    The Hinds County Circuit Clerk shall enter the

821   names or identifying numbers of all qualified electors in Hinds

822   County when selecting a jury for any hearing, trial or cause of

823   action that comes before any of the four (4) temporary special

824   circuit judges authorized by Section 1 of this act for the Seventh

825   Circuit Court District.



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826        SECTION 17.    If any section, paragraph, sentence, clause,

827   phrase or any part of this act is declared to be unconstitutional

828   or void, or if for any reason is declared to be invalid or of no

829   effect, the remaining sections, paragraphs, sentences, clauses,

830   phrases or parts of this act shall be in no manner affected

831   thereby but shall remain in full force and effect.

832        SECTION 18.    This act shall take effect and be in force from

833   and after July 1, 2023.




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  )7/)'4+ÿ'9ÿ6**'>.1=ÿ25+ÿ&&.3ÿ.19+/.'/ÿ&'7/2ÿ2'ÿ5'*3ÿ&'7/2:ÿ2'ÿ6(+13ÿ4+&2.'1ÿCDE
  FECGH@ÿ(.44.44.)).ÿ&'3+ÿ'9ÿIDJC@ÿ2'ÿ/+0.4+ÿ25+ÿB'7136/.+4ÿ'9ÿ25+ÿ&6).2'*ÿ&'()*+,
  .()/'0+(+12ÿ3.42/.&2@ÿ9'/ÿ)7/)'4+4ÿ'9ÿ6(+13(+12:ÿ2'ÿ6(+13ÿ4+&2.'1ÿCJEKFEJF@
  (.44.44.)).ÿ&'3+ÿ'9ÿIDJC@ÿ64ÿ6(+13+3ÿB<ÿ4+162+ÿB.**ÿ1'LÿCKKM@ÿCGCHÿ/+=7*6/ÿ4+44.'1@ÿ2'
  /+0.4+ÿ25+ÿ3.42/.B72.'1ÿ'9ÿ4262+ÿ46*+4ÿ26,ÿ/+0+17+ÿ2'ÿ25+ÿ&6).2'*ÿ&'()*+,
  .()/'0+(+12ÿ3.42/.&2ÿ)/'8+&2ÿ9713:ÿ2'ÿ/+?7./+ÿ25+ÿ&'((.44.'1+/ÿ'9ÿ25+
  3+)6/2(+12ÿ'9ÿ)7B*.&ÿ469+2<ÿ2'ÿ3+0+*')ÿ6ÿDIIÿ4<42+(ÿ9'/ÿ+(+/=+1&.+4ÿ>.25.1ÿ25+
  &6).2'*ÿ&'()*+,ÿ.()/'0+(+12ÿ3.42/.&2:ÿ2'ÿ/+?7./+ÿ25+ÿ&5.+9ÿ8742.&+ÿ'9ÿ25+
  47)/+(+ÿ&'7/2@ÿ.1ÿ&'147*262.'1ÿ>.25ÿ25+ÿ63(.1.42/62.0+ÿ'99.&+ÿ'9ÿ&'7/24@ÿ2'
  6))'.12ÿ6ÿ&'7/2ÿ63(.1.42/62'/ÿ2'ÿ(616=+ÿ25+ÿ&64+*'63ÿ'9ÿ25+ÿ4)+&.6*ÿ873=+4
  6))'.12+3ÿ.1ÿ4+&2.'1ÿIÿ'9ÿ25.4ÿ6&2:ÿ2'ÿ/+?7./+ÿ25+ÿ5.134ÿ&'712<ÿ&./&7.2ÿ&*+/Aÿ2'
  4+*+&2ÿ87/'/4ÿ9/'(ÿ6**ÿ?76*.9.+3ÿ+*+&2'/4ÿ.1ÿ5.134ÿ&'712<:ÿ2'ÿ)/'0.3+ÿ5'>
  87/'/4ÿ6/+ÿ&5'4+1ÿ9'/ÿ)/'&++3.1=4ÿB+9'/+ÿ4)+&.6*ÿ&'7/2ÿ873=+4ÿ6725'/.;+3ÿB<
  25.4ÿ6&2ÿ9'/ÿ25+ÿ4+0+125ÿ&./&7.2ÿ&'7/2ÿ3.42/.&2:ÿ613ÿ9'/ÿ/+*62+3ÿ)7/)'4+4L
  NOPQRSTUVQOÿXYRUTVOVOZÿUQÿU[V\ÿSYT\]RYÿ^T\ÿ_T\Uÿ]X`TUY`ÿQOÿabcdecdadfÿTUÿaghid
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